                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK




 TIMOTHY WALKER, individually and on                  Case No. 2:22-cv-05557-MKB-SIL
 behalf of all others similarly situated,
                                                      Hon. MARGO K. BRODIE
                    Plaintiff,
                                                      DEFENDANT KEURIG DR PEPPER
        v.                                            INC.’S NOTICE OF MOTION TO
                                                      DISMISS PLAINTIFF’S AMENDED
 KEURIG DR PEPPER INC.,                               CLASS ACTION COMPLAINT

                    Defendant.



       PLEASE TAKE NOTICE that upon Keurig Dr Pepper Inc.’s Memorandum of Law in

Support of Its Motion to Dismiss Plaintiff’s Amended Class Action Complaint, and all prior

pleadings and proceedings heretofore had herein, Defendant Keurig Dr Pepper Inc. (“KDP”)

hereby moves this Court, before the Honorable Margo K. Brodie, at the Eastern District of New

York Courthouse located at 225 Cadman Plaza East, Brooklyn, New York 11201, for an order

pursuant to Fed. R. Civ. P. 12(b)(1), 12(b)(2) and 12(b)(6) dismissing with prejudice all claims in

the Amended Class Action Complaint of Plaintiff Timothy Walker for failure to state a cause of

action, lack of standing, and lack of personal jurisdiction, and granting KDP such other, further

and different relief as the Court deems just and proper.




                                     [signature page follows]
Dated: November 6, 2023
                              Respectfully submitted,



                          By: /s/ Pieter Van Tol

                              Pieter Van Tol
                              HOGAN LOVELLS US LLP
                              390 Madison Avenue
                              New York, NY 10017
                              Telephone: +1 212 909 0661
                              Facsimile: +1 212 918 3100
                              pieter.vantol@hoganlovells.com

                              Lauren S. Colton (Pro Hac Vice)
                              Marc A. Marinaccio (Pro Hac Vice)
                              HOGAN LOVELLS US LLP
                              100 International Drive, Suite 2000
                              Baltimore, MD 21202
                              Telephone: +1 410 659 2700
                              Facsimile: +1 410 659 2701
                              lauren.colton@hoganlovells.com
                              marc.marinaccio@hoganlovells.com

                              Attorneys for Defendant KEURIG DR
                              PEPPER INC.
